     Case 3:20-cv-00489-MMD-CLB Document 10 Filed 10/16/20 Page 1 of 2



1

2

3                                UNITED STATES DISTRICT COURT
4                                       DISTRICT OF NEVADA
5                                                     ***

6     THOMAS WRAY HERNDON,                                  Case No. 3:20-cv-00489-MMD-CLB
7                                       Petitioner,                       ORDER
             v.
8
      DWIGHT NEVEN, et al.,
9
                                    Respondents.
10

11          Petitioner Thomas Herndon, a Nevada state prisoner, has submitted a pro se

12   petition for writ of habeas corpus under 28 U.S.C. § 2254. (ECF No. 1) This habeas matter

13   is before the Court for consideration of Petitioner’s application to proceed in forma

14   pauperis (IFP). (ECF No. 5.)

15          Under 28 U.S.C. § 1914(a) and the Judicial Conference Schedule of Fees, a $5.00

16   filing fee is required to initiate a habeas action in a federal district court. A federal district

17   court may authorize a person to begin an action without prepaying fees and costs if the

18   person submits an IFP application on the approved form along with the appropriate

19   supporting documentation. 28 U.S.C. § 1915(a); LSR 1-1, LSR 1-2.

20          Although Petitioner submitted the required form, the supporting documents show

21   Petitioner is able to pay the $5.00 filing fee. Thus, Petitioner does not qualify for a fee

22   waiver. The Court therefore denies Petitioner’s IFP application and gives him 45 days to

23   pay the filing fee.1

24          It is therefore ordered that Petitioner’s application to proceed in forma pauperis

25   (ECF No. 5) is denied.

26   ///

27
            1On  October 11, 2020, Petitioner notified the Court that he has already submitted
28
     a brass slip to prison officials to pay the $5.00 filing fee.
     Case 3:20-cv-00489-MMD-CLB Document 10 Filed 10/16/20 Page 2 of 2



1            It is further ordered that Petitioner must pay the $5.00 filing fee by November 30,

2    2020.

3            The Clerk of Court is directed to mail Petitioner two copies of this order. If possible,

4    Petitioner should arrange to have a copy of this order attached to the check for the filing

5    fee.

6            The initial screening of the petition for writ of habeas corpus (ECF No. 1-1) under

7    the Rules Governing Section 2254 Cases and consideration of Petitioner’s motion for

8    appointment of counsel (ECF No. 4) are deferred until such time as Petitioner has fully

9    complied with this order.

10           Failure to timely comply with this order will result in the dismissal of this action

11   without further advance notice.

12           DATED THIS 16th Day of October 2020.

13

14

15                                               MIRANDA M. DU
                                                 CHIEF UNITED STATES DISTRICT JUDGE
16

17

18

19

20

21

22

23

24

25

26
27

28


                                                    2
